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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,             ) Case No. MJ21-382-S-REB
                                       )
          Plaintiff,                   )
                                       ) WAIVER OF PRELIMINARY HEARING
    vs.                                )
  JOSIAH COLT                          )
                                       )
          Defendant.                   )
                                       )

       I understand that I have been charged with an offense in a criminal

complaint filed in this Court, or charged with violating the terms of probation or

supervised release in a petition filed in this Court. A magistrate judge has informed

me of my right to a preliminary hearing under Fed.R.Crim.P. 32.1.

       I agree to waive my right to a preliminary hearing under Fed.R.Crim.P. 5 or

Fed.R.Crim.P. 32.1.

Date: _______________________          ____________________________________
                                       Charles F. Peterson Digitally signed by Charles F. Peterson
      1/13/21                                              Date: 2021.01.13 08:40:00 -07'00'

                                       Defendant


Date: ______________________           _____________________________________
                                       Charles F. Peterson Digitally signed by Charles F. Peterson
      1/13/21                                              Date: 2021.01.13 08:40:26 -07'00'

                                       Attorney’s Signature


                                       _____________________________________
                                       Charles F. Peterson
                                       Printed Name of Attorney

                                       Federal Defender Services of Idaho
                                       702 W. Idaho Street, Suite 1000
                                       Boise, ID 83702
                                       208.331.5500




Waiver of Preliminary Hearing
assAssertion                             -1-
